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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

United States Commodity Futures Trading
Commission, et al.
                                                    Plaintiff,
v.                                                               Case No.: 1:12−cv−07127
                                                                 Honorable Edmond E.
                                                                 Chang
Nikolai Simon Battoo, et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 5, 2019:


       MINUTE entry before the Honorable Edmond E. Chang: Status and motion
hearing held. Amanda Burks appeared by telephone on behalf of the CFTC. The
Receiver's counsel, Blair Zanzig appeared in court. As discussed during the hearing, the
Receiver&#0;39;s motions [657 and 659] are granted. Receiver's motion for an order
closing Receivership [660] is granted. The Court will post the orders on the docket
separately. Emailed notice(slb, )




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